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                          UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO



       In re: Shale Oil Antitrust Litigation           Case No. 1:24-md-03119-MLG-LF

       This Document Relates to All Actions.           Judge Matthew L. Garcia




                                CERTIFICATE OF SERVICE


       Plaintiffs Abraham Drucker; Aegis Healthcare Solutions, Inc.; Andrew Caplen

Installations LLC; Angela Mathes; Anne Lane; Barbara MacDowell and Phillip MacDowell; Best

Expedite, Inc.; Brian Courtmanche; Catherine Foster; Cathie Gilstrap d/b/a Craig Gilstrap &

Associates; Charles Romanek; City of San Diego, California; City of San Jose, California; County

of San Mateo, California; Craig B. Greenfield Attorney at Law PC; Daniel Rosenbaum; David

Sample; Deneige Kapor; Edward Allegretti d/b/a Alfred Auto Center; Eric Wilim; Ford County,

Kansas; Garrett Mair; Garvin Promotion Group, LLC; Gustave Link; Hayday Farms LLP; Heather

Patterson d/b/a Prestige Towing; Jeffrey Taub; John Smith; Josselyn’s Getaway Cabins, LLC;

Kathleen Byrnes; Kevin Allen d/b/a Kevin Allen Photography; Kim Franzen; Laurie Olsen

Santillo; Marlin Svitak, Jr.; Matthew Foos; Mayor and City Council of Baltimore; Michael Clancy;

Michael Scott; Reneldo Rodriguez; Richard Beaumont; Robert Jones; Russell Deman; Samantha

Barsky d/b/a Noteify; Sue Jones; TBC Services, LLC; The Difference Landscapes; Thomas Caron;

Thomas Cavaliere; Tracey M. Boston, LLC; Vera McKelley; Waypoint Residential, LLC; and

Western Cab Company (collectively “Plaintiffs”), through their counsel, hereby certify that




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Plaintiffs’ Consolidated Class Action Complaint (Dkt. 86) was served via electronic mail and

Certified U.S. Mail to the following State Attorneys General on this 14th day of March, 2025:

 Office of the Attorney General of Arizona           Office of the Attorney General of Nevada
 The Honorable Kris Mayes                            The Honorable Aaron D. Ford
 2005 N. Central Avenue                              100 North Carson Street
 Phoenix, AZ 85004                                   Carson City, NV 89701

 Office of the Attorney General of Connecticut       Office of the Attorney General of New York
 The Honorable William Tong                          The Honorable Letitia James
 165 Capitol Avenue                                  1 Empire State Plaza
 Hartford, CT 06106                                  Albany NY 12223-1100

 Office of the Attorney General of Hawaii            Office of the Attorney General of Rhode Island
 The Honorable Anne E. Lopez                         The Honorable Peter F. Neronha
 425 Queen Street                                    150 South Main Street
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 Office of the Attorney General of Colorado          Office of the Attorney General of Utah
 The Honorable Phil Weiser                           The Honorable Derek Brown
 Colorado Department of Law                          Utah State Capitol Complex
 Ralph L. Carr Judicial Building                     350 North State Street Suite 230
 1300 Broadway, 10th Floor                           Salt Lake City, UT 84114
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Dated: March 14, 2025

/s/ Christopher A. Dodd
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